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WESTERN DlSTRlCT OF TENNESSEE

UN|TED STATES DlSTR|CT COURT H|ED BY %_ D
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ME|V|PHIS DlVlSlON

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_v_ 04-20139-01-Ma W!U GF rrr§r.rPHiS

UN|TED STATES OF ANIERICA

BRYANT FAULKNER
Jacob E. Erwin CJA
Defense Attorney
200 Jefferson Avenue, Suite 1313
Memphis,Tennessee 38103

 

 

JUDG|V|ENT lN A CR||VI|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on l\/larch 17, 2005. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

 

Date Offense Count
Title & Section L\LMQM Conc|uded Number(s)
18 U.S.C. § 922(g) Fe|on in possession of a firearm 11/20/2002 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the l\/landatory
Victims Fiestitution Act of 1996_

lT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district Within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 06/19/1957 June 22, 2005
Deft’s U.S. l\/larsha| No_: 19620-076

Defendant’s Residence Address:
1387 Centra| Avenue

Apartment # 910

l\/lemphis, TN 38104

J///V\/z_`

SAMUEL H. l\/|AYS, JR.
UN!TED STATES D|STR|CT JUDGE

Th.lS docu!
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Wl l it entered orr the docket Sh JUl'le , 2005
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and/or 33(1'.=) FHCrP 0 _E:p:h'l compllr:m;p
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Case No: 04-20189-01-Ma
Defendant Name: Bryant Fau|i<ner Page 2 of 5

lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of time already served_

FlETURN

| have executed this judgment as foilows:

 

 

 

 

 

 

 

Deiendant delivered on to
at . with a certified copy of this
judgmentl
UN|TED STATES MARSi-iAL
By:

 

Deputy U.S. lViarshai

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Case No: 04-20189-01-Ma
Defendant Name: Bryant Faulkner Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whiie on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERVIS|ON

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places Where controlled substances are illegally soid, used,
distributed, or administered;

8 The defendant shall not associate with any persons engaged in criminal activity. and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9, The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20189-01-Ma
Defendant Name: Bryant Fauli<ner Page 4 of 5

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. |f this judgment imposes a fine or a restitution obligation, it shaii be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Nlonetary Penaities sheet of this judgment

ADD|TIONAL CONDITIONS OF SUPERV!SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall participate in the Home Detention program for a period of five (5)
months. During this time, defendant will remain at defendants place of residence except
for employment, to attend religious services, for necessary medical care, and other activities
approved in advance bythe defendant’s Probation Officer. Defendant will be subject to the
standard conditions of Home Detention adopted for use in the Western District of
Tennessee, which may include the requirement to wear an electronic monitoring device and
to follow electronic monitoring procedures specified by the Probation Officer. Further, the
defendant shall be required to contribute to the costs of services for such monitoring not to
exceed an amount determined reasonable by the Probation Officer based on ability to pay
(or availability of third party payment) and in conformance with the Probation Office’s Sliding
Scale for E|ectronic Nionitoring Services.

2. The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

3. The defendant shall maintain his lawful full-time employment

4. The defendant shall cooperate in the collection of DNA as directed by the Probation Office.

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Case No: 04-20189-01-N|a
Defendant Name: Bryant Faulkner Page 5 of 5

CR|N||NAL NIONETARY PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgmentl pursuant to 18 U.S.C. §
3612(f). Al| of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately

FlNE
No fine imposed

REST|TUT|ON
No Ftestitution was ordered

 

 

Notice of Distribution

Tbis notice confirms a copy of the document docketed as number 63 in
case 2:04-CR-20189 Was distributed by faX, mail, or direct printing on
June 30, 2005 to the parties listed.

 

Jacob E. Erwin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

David Pritcbard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

